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16   GRAPH FOUNDATION, INC.
17                                   UNITED STATES DISTRICT COURT

18                              NORTHERN DISTRICT OF CALIFORNIA

19   NEO4J, INC., a Delaware corporation,           CASE NO. 5:19-cv-06226-EJD
20                      Plaintiff,                  STIPULATED PROTECTIVE ORDER
21            v.                                    Action Filed: October 1, 2019
                                                    Trial Date:   None
22   GRAPH FOUNDATION, INC., an Ohio
     corporation,
23
                        Defendant.
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 1   1.       PURPOSES AND LIMITATIONS
 2            Disclosure and discovery activity in this action are likely to involve production of
 3   confidential, proprietary, or private information for which special protection from public
 4   disclosure and from use for any purpose other than prosecuting this litigation may be warranted.
 5   Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated
 6   Protective Order. The parties acknowledge that this Order does not confer blanket protections on
 7   all disclosures or responses to discovery and that the protection it affords from public disclosure
 8   and use extends only to the limited information or items that are entitled to confidential treatment
 9   under the applicable legal principles. The parties further acknowledge, as set forth in Section
10   13.3, below, that this Stipulated Protective Order does not entitle them to file confidential
11   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and
12   the standards that will be applied when a party seeks permission from the court to file material
13   under seal.
14   2.       DEFINITIONS
15            2.1    Challenging Party: a Party or Non-Party that challenges the designation of
16   information or items under this Order.
17            2.2    “CONFIDENTIAL” Information or Items: information (regardless of how it is
18   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule
19   of Civil Procedure 26(c), and/or is not publicly known and is of technical or commercial
20   advantage to its possessor, including trade secret, financial, proprietary, competitive, or
21   commercially sensitive information, or other information required by law or agreement to be kept
22   confidential.
23            2.3    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as
24   well as their support staff).
25            2.4    Designated In-House Personnel: employees of a Party who seek access to
26   “CONFIDENTIAL” information in this matter.
27   ///
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                        1            2.5    Designating Party: a Party or Non-Party that designates information or items that it
                        2   produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY
                        3   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE
                        4   CODE”.
                        5            2.6    Disclosure or Discovery Material: all items or information, regardless of the
                        6   medium or manner in which it is generated, stored, or maintained (including, among other things,
                        7   testimony, transcripts, and tangible things), that are produced or generated in disclosures or
                        8   responses to discovery in this matter.
                        9            2.7    Expert: a person with specialized knowledge or experience in a matter pertinent to
                   10       the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or
                   11       as a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s
                   12       competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party
                   13       or of a Party’s competitor.
                   14                2.8    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or
                   15       Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another
                   16       Party or Non-Party would create a substantial risk of serious harm that could not be avoided by
                   17       less restrictive means, which includes, but is not limited to: (a) highly confidential research and
                   18       development, financial, technical, marketing, any other highly sensitive trade secret information,
                   19       or information capable of being utilized for the preparation or prosecution of a patent application
                   20       dealing with such subject matter; (b) highly commercially sensitive competitive information,
                   21       including, without limitation, information obtained from a non-party pursuant to a current
                   22       Nondisclosure Agreement (“NDA”); (c) information or data relating to future products not yet
                   23       commercially released or strategic plans; and (d) commercial agreements, settlement agreements
                   24       or settlement communications, the disclosure of which is likely to cause harm to the competitive
                   25       position of the producing party.
                   26                2.9    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:
                   27       extremely sensitive “Confidential Information or Items” representing computer code and
                   28       associated comments and revision histories, formulas, engineering specifications, or schematics
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                        1   that define or otherwise describe in detail the algorithms or structure of software or hardware
                        2   designs, disclosure of which to another Party or Non-Party would create a substantial risk of
                        3   serious harm that could not be avoided by less restrictive means.
                        4            2.10   House Counsel: attorneys who are employees of a party to this action. House
                        5   Counsel does not include Outside Counsel of Record or any other outside counsel.
                        6            2.11   Non-Party: any natural person, partnership, corporation, association, or other legal
                        7   entity not named as a Party to this action.
                        8            2.12   Outside Counsel of Record: attorneys who are not employees of a party to this
                        9   action but are retained to represent or advise a party to this action and have appeared in this action
                   10       on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.
                   11                2.13   Party: any party to this action, including all of its officers, directors, employees,
                   12       consultants, retained experts, and Outside Counsel of Record (and their support staffs).
                   13                2.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery
                   14       Material in this action.
                   15                2.15   Professional Vendors: persons or entities that provide litigation support services
                   16       (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
                   17       organizing, storing, or retrieving data in any form or medium) and their employees and
                   18       subcontractors.
                   19                2.16   Protected Material: any Disclosure or Discovery Material that is designated as
                   20       “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or as
                   21       “HIGHLY CONFIDENTIAL – SOURCE CODE.”
                   22                2.17   Receiving Party: a Party that receives Disclosure or Discovery Material from a
                   23       Producing Party.
                   24       3.       SCOPE
                   25                The protections conferred by this Stipulation and Order cover not only Protected Material
                   26       (as defined above), but also (1) any information copied or extracted from Protected Material; (2)
                   27       all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,
                   28       conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
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                        1   However, the protections conferred by this Stipulation and Order do not cover the following
                        2   information: (a) any information that is in the public domain at the time of disclosure to a
                        3   Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as
                        4   a result of publication not involving a violation of this Order, including becoming part of the
                        5   public record through trial or otherwise; and (b) any information known to the Receiving Party
                        6   prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who
                        7   obtained the information lawfully and under no obligation of confidentiality to the Designating
                        8   Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.
                        9   4.       DURATION
                   10                Even after final disposition of this litigation, the confidentiality obligations imposed by
                   11       this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court
                   12       order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all
                   13       claims and defenses in this action, with or without prejudice; and (2) final judgment herein after
                   14       the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
                   15       including the time limits for filing any motions or applications for extension of time pursuant to
                   16       applicable law.
                   17       5.       DESIGNATING PROTECTED MATERIAL
                   18                5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party
                   19       or Non-Party that designates information or items for protection under this Order must take care
                   20       to limit any such designation to specific material that qualifies under the appropriate standards.
                   21       To the extent it is practical to do so, the Designating Party must designate for protection only
                   22       those parts of material, documents, items, or oral or written communications that qualify – so that
                   23       other portions of the material, documents, items, or communications for which protection is not
                   24       warranted are not swept unjustifiably within the ambit of this Order.
                   25                Mass, indiscriminate, or routinized designations are prohibited. Designations that are
                   26       shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
                   27       unnecessarily encumber or retard the case development process or to impose unnecessary
                   28       expenses and burdens on other parties) expose the Designating Party to sanctions.
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                        1            If it comes to a Designating Party’s attention that information or items that it designated
                        2   for protection do not qualify for protection at all or do not qualify for the level of protection
                        3   initially asserted, that Designating Party must promptly notify all other parties that it is
                        4   withdrawing the mistaken designation.
                        5            5.2      Manner and Timing of Designations. Except as otherwise provided in this Order
                        6   (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise stipulated or ordered,
                        7   Disclosure or Discovery
                        8            Material that qualifies for protection under this Order must be clearly so designated before
                        9   the material is disclosed or produced.
                   10                Designation in conformity with this Order requires:
                   11                (a) for information in documentary form (e.g., paper or electronic documents, but
                   12       excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
                   13       Party affix the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’
                   14       EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains
                   15       protected material. If only a portion or portions of the material on a page qualifies for protection,
                   16       the Producing Party also must clearly identify the protected portion(s) (e.g., by making
                   17       appropriate markings in the margins) and must specify, for each portion, the level of protection
                   18       being asserted.
                   19                A Party or Non-Party that makes original documents or materials available for inspection
                   20       need not designate them for protection until after the inspecting Party has indicated which
                   21       material it would like copied and produced. During the inspection and before the designation, all
                   22       of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –
                   23       ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants
                   24       copied and produced, the Producing Party must determine which documents, or portions thereof,
                   25       qualify for protection under this Order. Then, before producing the specified documents, the
                   26       Producing Party must affix the appropriate legend (“CONFIDENTIAL,” “HIGHLY
                   27       CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE
                   28       CODE”) to each page that contains Protected Material. If only a portion or portions of the
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                        1   material on a page qualifies for protection, the Producing Party also must clearly identify the
                        2   protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for
                        3   each portion, the level of protection being asserted.
                        4            (b) for testimony given in deposition or in other pretrial or trial proceedings, that the
                        5   Designating Party identify on the record, before the close of the deposition, hearing, or other
                        6   proceeding, all protected testimony and specify the level of protection being asserted. When it is
                        7   impractical to identify separately each portion of testimony that is entitled to protection and it
                        8   appears that substantial portions of the testimony may qualify for protection, the Designating
                        9   Party may invoke on the record (before the deposition, hearing, or other proceeding is concluded)
                   10       a right to have up to 21 days after receipt of the transcript to identify the specific portions of the
                   11       testimony as to which protection is sought and to specify the level of protection being asserted.
                   12       Only those portions of the testimony that are appropriately designated for protection within the 21
                   13       days shall be covered by the provisions of this Stipulated Protective Order. Alternatively, a
                   14       Designating Party may specify, at the deposition or up to 21 days afterwards if that period is
                   15       properly invoked, that the entire transcript shall be treated as “CONFIDENTIAL” or “HIGHLY
                   16       CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
                   17                Parties shall give the other parties notice if they reasonably expect a deposition, hearing or
                   18       other proceeding to include Protected Material so that the other parties can ensure that only
                   19       authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”
                   20       (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition
                   21       shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY
                   22       CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
                   23                Transcripts containing Protected Material shall have an obvious legend on the title page
                   24       that the transcript contains Protected Material, and the title page shall be followed by a list of all
                   25       pages (including line numbers as appropriate) that have been designated as Protected Material and
                   26       the level of protection being asserted by the Designating Party. The Designating Party shall
                   27       inform the court reporter of these requirements. Any transcript that is prepared before the
                   28       expiration of a 21-day period for designation shall be treated during that period as if it had been
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                        1   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless
                        2   otherwise agreed. After the expiration of that period, the transcript shall be treated only as
                        3   actually designated.
                        4            (c) for information produced in some form other than documentary and for any other
                        5   tangible items, that the Producing Party affix in a prominent place on the exterior of the container
                        6   or containers in which the information or item is stored the legend “CONFIDENTIAL,”
                        7   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL
                        8   – SOURCE CODE.” If only a portion or portions of the information or item warrant protection,
                        9   the Producing Party, to the extent practicable, shall identify the protected portion(s) and specify
                   10       the level of protection being asserted.
                   11                5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
                   12       designate qualified information or items does not, standing alone, waive the Designating Party’s
                   13       right to secure protection under this Order for such material. Upon timely correction of a
                   14       designation, the Receiving Party must make reasonable efforts to assure that the material is
                   15       treated in accordance with the provisions of this Order.
                   16       6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS
                   17                6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of
                   18       confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality
                   19       designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
                   20       burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to
                   21       challenge a confidentiality designation by electing not to mount a challenge promptly after the
                   22       original designation is disclosed.
                   23                6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution
                   24       process by providing written notice of each designation it is challenging and describing the basis
                   25       for each challenge. To avoid ambiguity as to whether a challenge has been made, the written
                   26       notice must recite that the challenge to confidentiality is being made in accordance with this
                   27       specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in
                   28       good faith and must begin the process by conferring directly (in voice to voice dialogue; other
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                        1   forms of communication are not sufficient) within 14 days of the date of service of notice. In
                        2   conferring, the Challenging Party must explain the basis for its belief that the confidentiality
                        3   designation was not proper and must give the Designating Party an opportunity to review the
                        4   designated material, to reconsider the circumstances, and, if no change in designation is offered,
                        5   to explain the basis for the chosen designation. A Challenging Party may proceed to the next
                        6   stage of the challenge process only if it has engaged in this meet and confer process first or
                        7   establishes that the Designating Party is unwilling to participate in the meet and confer process in
                        8   a timely manner.
                        9            6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court
                   10       intervention, the Designating Party shall file and serve a motion to retain confidentiality under
                   11       Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days
                   12       of the initial notice of challenge or within 14 days of the parties agreeing that the meet and confer
                   13       process will not resolve their dispute, whichever is earlier. Each such motion must be
                   14       accompanied by a competent declaration affirming that the movant has complied with the meet
                   15       and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to
                   16       make such a motion including the required declaration within 21 days (or 14 days, if applicable)
                   17       shall automatically waive the confidentiality designation for each challenged designation. In
                   18       addition, the Challenging Party may file a motion challenging a confidentiality designation at any
                   19       time if there is good cause for doing so, including a challenge to the designation of a deposition
                   20       transcript or any portions thereof. Any motion brought pursuant to this provision must be
                   21       accompanied by a competent declaration affirming that the movant has complied with the meet
                   22       and confer requirements imposed by the preceding paragraph.
                   23                The burden of persuasion in any such challenge proceeding shall be on the Designating
                   24       Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
                   25       unnecessary expenses and burdens on other parties) may expose the Challenging Party to
                   26       sanctions. Unless the Designating Party has waived the confidentiality designation by failing to
                   27       ///
                   28       ///
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                        1   file a motion to retain confidentiality as described above, all parties shall continue to afford the
                        2   material in question the level of protection to which it is entitled under the Producing Party’s
                        3   designation until the court rules on the challenge.
                        4   7.       ACCESS TO AND USE OF PROTECTED MATERIAL
                        5            7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or
                        6   produced by another Party or by a Non-Party in connection with this case only for prosecuting,
                        7   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to
                        8   the categories of persons and under the conditions described in this Order. When the litigation has
                        9   been terminated, a Receiving Party must comply with the provisions of Section 14 below (FINAL
                   10       DISPOSITION).
                   11                Protected Material must be stored and maintained by a Receiving Party at a location and
                   12       in a secure manner that ensures that access is limited to the persons authorized under this Order.
                   13                7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
                   14       by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any
                   15       information or item designated “CONFIDENTIAL” only to:
                   16                (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees
                   17       of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information
                   18       for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that
                   19       is attached hereto as Exhibit A;
                   20                (b) the officers, directors, or employees (including House Counsel) of the Receiving Party
                   21       to whom disclosure is necessary for this litigation and who have signed the “Acknowledgment
                   22       and Agreement to Be Bound” (Exhibit A);
                   23                (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
                   24       reasonably necessary for this litigation and who have signed the “Acknowledgment and
                   25       Agreement to Be Bound” (Exhibit A);
                   26                (d) the court and its personnel;
                   27       ///
                   28       ///
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                        1            (e) court reporters and their staff, professional jury or trial consultants, and Professional
                        2   Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
                        3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                        4            (f) during their depositions, witnesses in the action to whom disclosure is reasonably
                        5   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
                        6   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed
                        7   deposition testimony or exhibits to depositions that reveal Protected Material must be separately
                        8   bound by the court reporter and may not be disclosed to anyone except as permitted under this
                        9   Stipulated Protective Order.
                   10                (g) the author or recipient of a document containing the information or a custodian or
                   11       other person who otherwise possessed or knew the information.
                   12                7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and
                   13       “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise
                   14       ordered by the Court or permitted in writing by the Designating Party, a Receiving Party may
                   15       disclose any information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
                   16       EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:
                   17                (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees
                   18       of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information
                   19       for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that
                   20       is attached hereto as Exhibit A;
                   21                (b) Designated House Counsel of the Receiving Party: (1) who has no involvement in
                   22       competitive decision-making, (2) to whom disclosure is necessary for this litigation, (3) who has
                   23       signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) as to whom the
                   24       procedures set forth in paragraph 7.4(a)(1), below, have been followed.
                   25                (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this
                   26       litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
                   27       and (3) as to whom the procedures set forth in Section 7.4, below, have been followed;
                   28                (d) the Court and its personnel;
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                        1            (e) court reporters and their staff, professional jury or trial consultants, and Professional
                        2   Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
                        3   “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
                        4            (f) the author or recipient of a document containing the information or a custodian or other
                        5   person who otherwise possessed or knew the information.
                        6            7.4    Procedures for Approving or Objecting to Disclosure of “HIGHLY
                        7   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE
                        8   CODE” Information or Items to Designated House Counsel or Experts.
                        9            (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating
                   10       Party, a Party that seeks to disclose to Designated House Counsel any information or item that has
                   11       been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
                   12       CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(b) first must make a written
                   13       request to the Designating Party that (1) sets forth the full name of the Designated House Counsel
                   14       and the city and state of his or her residence, and (2) describes the Designated House Counsel’s
                   15       current and reasonably foreseeable future primary job duties and responsibilities in sufficient
                   16       detail to determine if House Counsel is involved, or may become involved, in any competitive
                   17       decision-making.
                   18                (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating
                   19       Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information or item
                   20       that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
                   21       “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to Section 7.3(c) first must make a
                   22       written request to the Designating Party that (1) sets forth the full name of the Expert and the city
                   23       and state of his or her primary residence, (2) attaches a copy of the Expert’s current resume, (3)
                   24       identifies the Expert’s current employer(s), (4) identifies each person or entity from whom the
                   25       Expert has received compensation or funding for work in his or her areas of expertise or to whom
                   26       the expert has provided professional services, including in connection with a litigation, at any
                   27       time during the preceding five years, and (5) identifies (by name and number of the case, filing
                   28       date, and location of court) any litigation in connection with which the Expert has offered expert
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                        1   testimony, including through a declaration, report, or testimony at a deposition or trial, during the
                        2   preceding five years.
                        3            (b) A Party that makes a request and provides the information specified in the preceding
                        4   respective paragraphs may disclose the subject Protected Material to the identified Designated
                        5   House Counsel or Expert unless, within 14 days of delivering the request, the Party receives a
                        6   written objection from the Designating Party. Any such objection must set forth in detail the
                        7   grounds on which it is based.
                        8            (c) A Party that receives a timely written objection must meet and confer with the
                        9   Designating Party (through direct voice to voice dialogue) to try to resolve the matter by
                   10       agreement within seven days of the written objection. If no agreement is reached, the Party
                   11       seeking to make the disclosure to Designated House Counsel or the Expert may file a motion as
                   12       provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable)
                   13       seeking permission from the court to do so. Any such motion must describe the circumstances
                   14       with specificity, set forth in detail the reasons why the disclosure to Designated House Counsel or
                   15       the Expert is reasonably necessary, assess the risk of harm that the disclosure would entail, and
                   16       suggest any additional means that could be used to reduce that risk. In addition, any such motion
                   17       must be accompanied by a competent declaration describing the parties’ efforts to resolve the
                   18       matter by agreement (i.e., the extent and the content of the meet and confer discussions) and
                   19       setting forth the reasons advanced by the Designating Party for its refusal to approve the
                   20       disclosure.
                   21                In any such proceeding, the Party opposing disclosure to Designated House Counsel or the
                   22       Expert shall bear the burden of proving that the risk of harm that the disclosure would entail
                   23       (under the safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected
                   24       Material to its Designated House Counsel or Expert.
                   25       8.       SOURCE CODE
                   26                (a)    To the extent production of source code becomes necessary in this case, a
                   27       Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”
                   28       if it comprises or includes confidential, proprietary or trade secret source code.
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                        1            (b)    Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE
                        2   CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –
                        3   ATTORNEYS’ EYES ONLY” information, and may be disclosed only to the individuals to
                        4   whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information may be
                        5   disclosed, as set forth in Paragraphs 7.3 and 7.4, with the exception of Designated House
                        6   Counsel.
                        7            (c)    Any source code produced in discovery shall be made available for inspection, in a
                        8   format allowing it to be reasonably reviewed and searched, during normal business hours or at
                        9   other mutually agreeable times, at an office of the Producing Party’s counsel or another mutually
                   10       agreed upon location. The source code shall be made available for inspection on a secured
                   11       computer in a secured room without Internet access or network access to other computers, and the
                   12       Receiving Party shall not copy, remove, or otherwise transfer any portion of the source code onto
                   13       any recordable media or recordable device. The Producing Party may visually monitor the
                   14       activities of the Receiving Party’s representatives during any source code review, but only to
                   15       ensure that there is no unauthorized recording, copying, or transmission of the source code.
                   16                (d)    The Receiving Party may request paper copies of limited portions of source code
                   17       that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or
                   18       other papers, or for deposition or trial, but shall not request paper copies for the purposes of
                   19       reviewing the source code other than electronically as set forth in paragraph (c) in the first
                   20       instance. The Producing Party shall provide all such source code in paper form including bates
                   21       numbers and the label “HIGHLY CONFIDENTIAL - SOURCE CODE.” The Producing Party
                   22       may challenge the amount of source code requested in hard copy form pursuant to the dispute
                   23       resolution procedure and timeframes set forth in Paragraph 6 whereby the Producing Party is the
                   24       “Challenging Party” and the Receiving Party is the “Designating Party” for purposes of dispute
                   25       resolution.
                   26                (e)    The Receiving Party shall maintain a record of any individual who has inspected
                   27       any portion of the source code in electronic or paper form. The Receiving Party shall maintain all
                   28       paper copies of any printed portions of the source code in a secured, locked area. The Receiving
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                        1   Party shall not create any electronic or other images of the paper copies and shall not convert any
                        2   of the information contained in the paper copies into any electronic format. The Receiving Party
                        3   shall only make additional paper copies if such additional copies are (1) necessary to prepare
                        4   court filings, pleadings, or other papers (including a testifying expert’s expert report), (2)
                        5   necessary for deposition, or (3) otherwise necessary for the preparation of its case. Any paper
                        6   copies used during a deposition shall be retrieved by the Producing Party at the end of each day
                        7   and must not be given to or left with a court reporter or any other unauthorized individual.
                        8   9.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
                        9            LITIGATION
                   10                If a Party is served with a subpoena or a court order issued in other litigation that compels
                   11       disclosure of any information or items designated in this action as “CONFIDENTIAL,”
                   12       “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL
                   13       – SOURCE CODE” that Party must:
                   14                (a) promptly notify in writing the Designating Party. Such notification shall include a
                   15       copy of the subpoena or court order;
                   16                (b) promptly notify in writing the party who caused the subpoena or order to issue in the
                   17       other litigation that some or all of the material covered by the subpoena or order is subject to this
                   18       Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and
                   19                (c) cooperate with respect to all reasonable procedures sought to be pursued by the
                   20       Designating Party whose Protected Material may be affected.
                   21                If the Designating Party timely seeks a protective order, the Party served with the
                   22       subpoena or court order shall not produce any information designated in this action as
                   23       “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or
                   24       “HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the court from
                   25       which the subpoena or order issued, unless the Party has obtained the Designating Party’s
                   26       permission. The Designating Party shall bear the burden and expense of seeking protection in that
                   27       ///
                   28       ///
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                        1   court of its confidential material – and nothing in these provisions should be construed as
                        2   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from
                        3   another court.
                        4   10.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
                        5            LITIGATION
                        6            (a)     The terms of this Order are applicable to information produced by a Non-Party in
                        7   this action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
                        8   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such
                        9   information produced by Non-Parties in connection with this litigation is protected by the
                   10       remedies and relief provided by this Order. Nothing in these provisions should be construed as
                   11       prohibiting a Non-Party from seeking additional protections.
                   12                (b)     In the event that a Party is required, by a valid discovery request, to produce a
                   13       Non-Party’s confidential information in its possession, and the Party is subject to an agreement
                   14       with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:
                   15                        1.     promptly notify in writing the Requesting Party and the Non-Party that
                   16       some or all of the information requested is subject to a confidentiality agreement with a Non-
                   17       Party;
                   18                        2.     promptly provide the Non-Party with a copy of the Stipulated Protective
                   19       Order in this litigation, the relevant discovery request(s), and a reasonably specific description of
                   20       the information requested; and
                   21                        3.     make the information requested available for inspection by the Non-Party.
                   22                (c)     If the Non-Party fails to object or seek a protective order from this court within 14
                   23       days of receiving the notice and accompanying information, the Receiving Party may produce the
                   24       Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely
                   25       seeks a protective order, the Receiving Party shall not produce any information in its possession
                   26       or control that is subject to the confidentiality agreement with the Non-Party before a
                   27       determination by the court. Absent a court order to the contrary, the Non-Party shall bear the
                   28       burden and expense of seeking protection in this court of its Protected Material.
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                        1   11.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                        2            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
                        3   Material to any person or in any circumstance not authorized under this Stipulated Protective
                        4   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the
                        5   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
                        6   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
                        7   made of all the terms of this Order, and (d) request such person or persons to execute the
                        8   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
                        9   12.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
                   10                MATERIAL
                   11                If information subject to a claim of attorney-client privilege, work product immunity, or
                   12       other privilege, doctrine, right, or immunity is inadvertently or unintentionally produced, such
                   13       production shall in no way prejudice or otherwise constitute a waiver or estoppel as to any such
                   14       privilege, doctrine, right or immunity. When a Producing Party gives notice to Receiving Parties
                   15       that certain inadvertently produced material is subject to a claim of privilege or other protection,
                   16       the obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure
                   17       26(b)(5)(B). This provision is not intended to modify whatever procedure may be established in
                   18       an e-discovery order that provides for production without prior privilege review. Pursuant to
                   19       Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of
                   20       disclosure of a communication or information covered by the attorney-client privilege or work
                   21       product protection, the parties may incorporate their agreement in the stipulated protective order
                   22       submitted to the court.
                   23       13.      MISCELLANEOUS
                   24                13.1   Right to Further Relief. Nothing in this Order abridges the right of any person to
                   25       seek its modification by the court in the future.
                   26                13.2   Right to Assert Other Objections. By stipulating to the entry of this Protective
                   27       Order no Party waives any right it otherwise would have to object to disclosing or producing any
                   28       information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no
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                        1   Party waives any right to object on any ground to use in evidence of any of the material covered
                        2   by this Protective Order.
                        3            13.3   Filing Protected Material. Without written permission from the Party or a non-
                        4   party whose confidentiality interest is being protected by the designation of Disclosure or
                        5   Discovery Material as Protected Material or a court order secured after appropriate notice to all
                        6   interested persons, a Party may not file in the public record in this action any Protected Material.
                        7   If a Party wishes to submit any Protected Material to the Court in this action that has been
                        8   designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                        9   ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE, the Party shall comply with Civil
                   10       Local Rule 79-5. Protected Material may only be filed under seal pursuant to a court order
                   11       authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule
                   12       79-5, a sealing order will issue only upon a request establishing that the Protected Material at
                   13       issue is privileged, protectable as a trade secret, or otherwise entitled to protection under the law.
                   14       If a Receiving Party's request to file Protected Material under seal pursuant to Civil Local Rule
                   15       79-5(e) is denied by the court, then the Receiving Party may file the Protected Material in the
                   16       public record pursuant to Civil Local Rule 79-5(e)(2) unless otherwise instructed by the court.
                   17       14.      FINAL DISPOSITION
                   18                Within 60 days after the final disposition of this action, as defined in Section 4, each
                   19       Receiving Party must return all Protected Material to the Producing Party or destroy such
                   20       material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,
                   21       compilations, summaries, and any other format reproducing or capturing any of the Protected
                   22       Material. Whether the Protected Material is returned or destroyed, the Receiving Party must
                   23       submit a written certification to the Producing Party (and, if not the same person or entity, to the
                   24       Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all
                   25       the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has
                   26       not retained any copies, abstracts, compilations, summaries or any other format reproducing or
                   27       capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to
                   28       retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
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                        1   legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work
                        2   product, and consultant and expert work product, even if such materials contain Protected
                        3   Material. Any such archival
                        4   copies that contain or constitute Protected Material remain subject to this Protective Order as set
                        5   forth in Section 4 (DURATION).
                        6            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                        7   Dated: March 30, 2020                              HOPKINS & CARLEY
                                                                               A Law Corporation
                        8

                        9                                                      By: /s/ Jeffrey M. Ratinoff
                                                                                  Jeffrey M. Ratinoff
                   10                                                             Attorneys for Plaintiff NEO4J, INC.

                   11       Dated: March 30, 2020                              BERGESON, LLP

                   12

                   13                                                          By: /s/ John D. Pernick
                                                                                  John D. Pernick
                   14                                                             Attorneys for Defendant
                                                                                  GRAPH FOUNDATION, INC.
                   15

                   16                PURSUANT TO STIPULATION, IT IS SO ORDERED.
                   17

                   18

                   19       DATED: ________________________
                                    March 31, 2020                        _____________________________________
                                                                           Hon. Susan van Keulen
                   20                                                      United States Magistrate Judge

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 1                                                 EXHIBIT A
 2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3            I, _____________________________ [print or type full name], of _________________
 4   [print or type full address], declare under penalty of perjury that I have read in its entirety and
 5   understand the Stipulated Protective Order that was issued by the United States District Court for
 6   the Northern District of California on [date] in the case of NEO4J, INC. v. GRAPH
 7   FOUNDATION, INC., CASE NO. 5:19-cv-06226-EJD. I agree to comply with and to be bound
 8   by all the terms of this Stipulated Protective Order and I understand and acknowledge that failure
 9   to so comply could expose me to sanctions and punishment in the nature of contempt. I solemnly
10   promise that I will not disclose in any manner any information or item that is subject to this
11   Stipulated Protective Order to any person or entity except in strict compliance with the provisions
12   of this Order.
13            I further agree to submit to the jurisdiction of the United States District Court for the
14   Northern District of California for the purpose of enforcing the terms of this Stipulated Protective
15   Order, even if such enforcement proceedings occur after termination of this action.
16            I hereby appoint __________________________ [print or type full name] of
17   _______________________________________ [print or type full address and telephone
18   number] as my California agent for service of process in connection with this action or any
19   proceedings related to enforcement of this Stipulated Protective Order.
20

21   Date: _________________________________
22   City and State where sworn and signed: _________________________________
23   Printed name: ______________________________
24                [printed name]

25   Signature: __________________________________
                   [signature]
26

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 1                                        FILER’S ATTESTATION
 2            I, Jeffrey M. Ratinoff, am the ECF user whose credentials were utilized in the electronic
 3   filing of this document. In accordance with N.D. Cal. Civil Local Rule 5-1(i)(3), I hereby attest
 4   that all signatories hereto concur in this filing.
 5   Dated: March 30, 2020                                HOPKINS & CARLEY
                                                          A Law Corporation
 6

 7                                                        By: /s/ Jeffrey M. Ratinoff
                                                             Jeffrey M. Ratinoff
 8                                                           Attorneys for Plaintiff
                                                             NEO4J, INC.
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